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UN|TED STATES BANKRUPTCY COURT
EASTERN D|STR|CT OF NEW YORK

 

 

------- -x cHAPTER 13
lN REZ CASE NO.118-73704
FRANCINE A. LANAIA,
DEBTOR(S).
X
CHAPTER 13 PLAN Revised12/19/17

 

Cl Check this box ifthis is an amended plan. List below the sections of the plan which have been
changed:

 

PART 1: NOT|CES

To Debtors: This form sets out options that may be appropriate in some cases, but the presence of an option on the form
does not indicate that the option is appropriate in your circumstance or that it is permissible in your judicial district. P|ans
that do not comply with the local rules for the Eastern District of New York may not be confirmab|e. if you do not have an
attorney, you may wish to consult one.

To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated. You should
read this plan carefully and discuss it with your attorney. if you do not have an attorney, you may wish to consult one.

if you oppose the plan's treatment of your claim or any provision of this plan, you or your attorney must file an objection
to confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the
Bankruptcy Court. The Bankru ptcy Court may confirm this plan without further notice if no objection to confirmation is

filed. See Bankruptcy Ru|e 3015. in addition, you may need to file a timely proof of claim in order to be paid under any
plan.

1.1: The following matters may be of particular importance. Debtors must check one box on each line to state
Whether or not the plan includes each of the following items. l_f an item is checked as ”Not Included” or if
both or neither boxes are checked, the provision will be ineffective if set out later in the plan.

 

a. A limit on the amount of a secured ciaim, set out in Section 3.4, which may result in n included m Not included
a partial payment or no payment at all to the secured creditor

 

b. Avoidance of a judicial lien or nonpossessory, non-purchase-money security interest, m included m Not included
set out in Section 3.6

 

c. Nonstandard provisions, set out in Part 9 m included Cl Not included

 

 

 

 

 

 

1.2: The following matters are for informational purposes.

 

a. The debtor(s) is seeking to modify a mortgage secured by the debtor(s)'s principal m included m Not included
residence, set out in Section 3.3

 

b. Unsecured Creditors, set out in Part 5, will receive 100% distribution of their timely filed n included m Not included
claim

 

 

 

 

 

 

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PART 2: PLAN PAYMENTS AND LENGTH OF PLAN

2.1: The post-petition earnings of the debtor(s) are submitted to the supervision and control of the Trustee
and the Debtor(s) shall pay to the Trustee for a period of 60 months as follows:

$ molina per month commencing 06/30/2018 through and including 06/30/2023 for a period of 60
months; and

$ per month commencing through and including for a period of
months.

n Continued on attached separate page(s).

2.2: income tax refunds.

if general unsecured creditors are paid less than 100%, in addition to the regular monthly payments, during the
pendency of this case, the Debtor(s) will provide the Trustee with signed copies of filed federal and state tax
returns for each year commencing with the tax year 2017 , no later than Aprii15th of the year following the
tax period. indicated tax refunds are to be paid to the Trustee upon receipt, however, no later than lune 15th
of the year in which the tax returns are filed.

2.3: Additiona| payments.

Check one.
ill None. lf ”None” is checked, the rest of §2.3 need not be completed.
Ci Debtor(s) will make additional payment(s) to the Trustee from other sources, as specified beiow.
Describe the source, estimated amount, and date of each anticipated payment.

 

 

PART 3: TREATMENT OF SECURED CLA||V|S
3.1: lViaintenance of payments (including the debtor(s)'s principal residence).

Checl< one.

El None. lf ”None” is checked, the rest of §3.1 need not be completed.

El Debtor(s) will maintain the current contractual installment payments on the secured claims listed
below, with any changes required by the applicable contract and noticed in conformity with any
applicable ruies. These payments will be disbursed directly by the debtor(s).

Last 4 Digits of principal Current installment

Name of Creditor Account Residence Description of Collateral Pavm€nt (including
N“mbe" (check bo)<) €SCVOW)
Chriswpher McNamaro 4 W“"“'“sb“rgh Drive 1,000.00

Ft. Salonga, NY 11768

T4 Williamsburgh Drive

Glen M Lanala m F;t Salonga’ Ny 11768 741.00

m Continued on attached separate page(s).

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UN|TED STATES BANKRUPTCY COURT
EASTERN D|STR|CT OF NEW YORK
X
iN RE: Chapter 13
Debtor, Case No.: 18-73704

 

Debtor(s) ATTAcHMENT To
cHAPTER 13 PLAN

 

PART 21 PLAN PAYMENTS AND LENGTH OF PLAN

2.1: The post-petition earnings of the debtor(s) are submitted to the supervision and control of the
Trustee and the Debtor(s) shall pay to the Trustee for a period of 60 months as follows:

3.1: Maintenance of payments (including the debtor(s)'s principal residence).

Last 4 Digits of Principa| Current installment
Name of Creditor ' Account Residence Description of Collateral Pavment (including
Number (Check box) escrow]
Charles A. Srnith Sr. 3401 4 Williamsburgh Drive l,UUU.{}U
Ft. Salonga, NY 11768
Charles A. Smith Jr 5982 4 Williamsburgh Drive 500.0()
Ft. Salonga, NY 11768

Cl

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3.2: Cure of default (including the debtor(s)'s principal residence).

Check one.

Cl None. lf ”None” is checked, the rest of §3.2 need not be completed.

E Any existing arrearage on a listed claim will be paid in full through disbursements by the trustee, with
interest, if any, at the rate stated beiow. Unless otherwise ordered by the court, the amounts listed on
a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) control over any
contrary amounts listed beiow. in the absence of a contrary timely filed proof of claim, the amounts
listed below are controlling.

Last 4 Principa| Amount of inte t R t
Name of Creditor Digits of Residence Description of Collateral res a e
Arrearage (if any)
ACC'C NO~ (check box)
JP Morgan Chase 4 Williamsburgh Drivc SEE 9.1

Ft. Salonga, NY 11768

El

n Continued on attached separate page(s).

3.3: Modification of a mortgage secured by the debtor(s)'s principal residence.
Checl< 0ne.
El The debtor(s) is not seeking to modify a mortgage secured by the debtor's principal residence.
Cl The debtor(s) is seeking to modify a mortgage secured by the debtor(s)'s principal residence.
Comp/ete paragraph below.
Cl if applicab|e, the debtor(s) will be requesting loss mitigation pursuant to Genera| Order #582.

The mortgage due to (creditor name) on the property known as

under account number ending (iast four digits of account number) is in defauit.
A|l arrears, including all past due payments, late charges, escrow deficiency, legal fees and other expenses due
to the mortgagee totaling$ , may be capitalized pursuant to a loan modification, The new principal
balance, including capitalized arrears will be $____, and will be paid at _% interest amortized over
__ years with an estimated monthly payment of$ including interest and escrow of
$ _. The estimated monthly payment shall be paid directly to the trustee while loss mitigation is
pending and until such time as the debtor(s) has commenced payment under a trial loan modification.
Contemporaneous with the commencement of a trial loan modification, the debtor(s) will amend the Chapter
13 Plan and Schedu|e l to reflect the terms of the trial agreement, including the direct payment to the secured
creditor going forward by the debtor(s).

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3.4: Request for valuation of security, payment of fully secured ciaims, and modification of
under-secured claims.

Check one.
EZI None. /f ”None” ls checked, the rest of §3.4 need not be completed.

The remainder of this paragraph is only effective if the applicable box in Part 1 of this plan is
checked.

Ci The debtor(s) shall file a motion to determine the value ofthe secured claims listed below. Such claim
shall be paid pursuant to order ofthe court upon determination of such motion.

Last 4 Estimated Estimated

Name of Digits of Description of Value of Total Amount Amount of Amount of

Creditor Collateral Collateral Of Claim Cr€dit°r'$ Cf@dlt°r'$
Acct NO- Secured Claim Unsecured Claim

m Continued on attached separate page(s).

3.5: Secured claims on personal property excluded from 11 U.S.C. §506.

Checl< one.
E None. lf ”None” is checked, the rest of §3.5 need not be completed.
El The claims listed below were either:
o incurred within 910 days before the petition date and secured by a purchase money security
interest in a motor vehicle acquired for the personal use ofthe debtor(s); or
o incurred within 1 year of the petition date and secured by a purchase money security interest
in any otherthing of value.
These claims will be paid pursuant to §3.1 and/or §3.2. (The claims must be referenced in those
sections as well.) Unless otherwise ordered by the court, the claim amount stated on a proof of claim
filed before the filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed
below. in the absence of a contrary timely filed proof of claim, the amounts stated below are
controlling.

Last 4 Digits

Collateral Amount of Claim interest Rate
of Acct No.

Name of Creditor

n Continued on attached separate page(s).

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3.6: Lien avoidance.

Check one.
El None. lf ”None” is checked, the rest 0f§3.6 need not be completed.

The remainder of this paragraph is only effective if the applicable box in Part 1 of this plan is
checked.

El The debtor(s) shall file a motion to avoid the following judicial liens or nonpossessory, non-purchase
money security interests as the claims listed below impair exemptions to which the debtor(s) are
entitled under 11 U.S.C. §522(b) or applicable state law. See 11 U.S.C. §522(f) and Bankruptcy Rule
4003(d). Such claim shall be paid pursuant to order ofthe court upon determination of such motion.

Estimated |nterest Rate Estimated
Name of Creditor Attomey for Lien Descrlption of Amount of on secured Amount of
Creditor identification Collateral Secured PO"'°"' if Unsecured

Claim any Claim

n Continued on attached separate page(s).

3.7: Surrender of collateral.

Check one.

Ei None. lf ”None” is checked, the rest of §3.7 need not be completed.

Ei The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s
claim. The debtor(s) request that upon confirmation ofthis plan the stay under 11 U.S.C. §362(a) be
terminated as to the collateral only and that the stay under 11 U.S.C. §1301 be terminated. Any timely
filed allowed unsecured claim resulting from the disposition ofthe collateral will be treated in Part 5
below.

Last 4 Digits of

Name of Creditor Acct NO.

Description of Collateral

n Continued on attached separate page(s).

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PART 4: TREATMENT OF FEES AND PR|OR|TY CLA|MS

4.1: General.

Trustee's fees and ali allowed priority claims, including domestic support obligations other than those treated
in §4.5, will be paid in full without post-petition interest.

4.2: Trustee's fees.

Trustee's fees are governed by statute and may change during the course of the case.

4.3: Attorney's fees.

The balance of the fees owed to the attorney for the debtor(s) is $ 3000.00 .

4.4: Priority claims other than attorney's fees and those treated in §4.5.

Check 0ne.
Ci None. lf ”None” is checked, the rest of §4.4 need not be completed
Ei The debtor(s) intend to pay the following priority claims through the plan:

Name of Creditor Estimated Claim Amount
l
§Internal Revenue Service $78,156.00
'NYS Department of Taxation $15,000.00

n Continued on attached separate page(s).

4.5: Domestic support obligations.

Check 0ne.
lZi None. lf ”None” is checked, the rest of §4.5 need not be completed
ill The debtor(s) has a domestic support obligation and is current with this obligation. Complete table
below,' do not fill in arrears amount,
El The debtor(s) has a domestic support obligation that is not current and will be paying arrears through
the Plan. Complete table below.

Date of Month|y 050 Amount of Arrears to be

Name of Recipient Order Name of Court Payment Paicl through Plan, if Any

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PART 5: TREATMENT OF NONPR|OR|TY UNSECURED CLA|MS
Ailowed nonpriority unsecured claims will be paid pro rata:

Ci Not less than the sum of$

Ei Not less than % ofthe total amount of these ciaims.
ill From the funds remaining after disbursement have been made to all other creditors provided for in
this plan.

if more than one option is checked, the option providing the largest payment will be effective.

PART 6: EXECUTORY CONTRACTS AND UNEXPlRED LEASES

6.1: The executory contracts and unexpired leases listed below are assumed and will be treated as
specified. All other executory contracts and unexpired leases are rejected.

Check 0ne.
Ei None. lf ”None'l is checked, the rest of §6.1 need not be completed
Ci Assumed items. Current installment payments will be paid directly by the debtor(s) as specified
below, subject to any contrary court order or rule. Arrearage payments will be disbursed by the
trustee.

D€SCi'iptiOii Of L€aS€d Pi`Opei'tV Oi` Current installment Amount of Arrearage

Name Of Cred|tor Executory Contract Payment by Debtor to be Paid by Trustee

PART 7: VEST|NG OF PROPERTY OF THE ESTATE

Unless otherwise provided in the Order of Confirmation, property of the estate will vest in the
debtor(s) upon completion of the plan.

PART 8: POST-PET|T|ON OBLlGAT|ONS

8.1: Post-petition mortgage payments, vehicle payments, real estate taxes, and domestic support
obligations are to be made directly by the debtor(s) unless otherwise provided for in the plan.

8.2: Throughout the term of this Plan, the debtor(s) will not incur post-petition debt over $2,500.00
without written consent of the Trustee or by order of the Court.

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PART 9: NONSTANDARD PLAN PROV|S|ONS
9.1: Check ”None" or list nonstandard plan provisions.
Ei None. /f ”None” is checked, the rest of §9.1 need not be completed

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a
provision not otherwise included in the form plan or deviating from it. Nonstandard provisions set out
elsewhere in this plan are ineffectivel

The following plan provisions will be effective only if there is a check in the box ”included” in §1.1(c).
The Debtor shall pay total debt claim of Seterus. Inc / Federal National Association to the Trustee over the life ofthe plan

at contract rate ofinterest.

 

 

PART 10: CERT|F|CAT|ON AND SlG NATURE(S):

10.1: l/we do hereby certify that this plan does not contain any nonstandard provisions other than
those set out in the final paragraph.

/s/ Francine A. Lanaia

 

 

Signature of Debtor 1 Signature of Debtor 2

Dated: June 25 2018 Dated:

 

j§/ Peter Corev. Esq.
Signature of Attorney for Debtor(s)

Dated: June 25, 2018

